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                            EXHIBIT 57




                                     Exhibit 57
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OCT- £-91 WED 14:52               FULLERTON DEV, SERVICES                   FAX NO, 7147383110                                  pm
                                                                                                                       SFUND RECORDS CTR
                                                                                                                           1654-92596

                                                            City still seeks
Fvr                                                         McColl cleanup
                                                            By John Kan*                        The council's refusal "fol-
                                                            Staff Writir                      lows in line with their previous
                                                               In a move that disappointed stance over the last 3D to 40
                                                            a McColl residents group, the years      — and that is, if you •
                                                            City Council has decided to ignore the problem it'll go •
                                                            continue its policy of seeking a away," said FHCA President '
                                                            complete clean up of the tone Davs Bushey.
                                                            waste site and not schedule a head  Mayor Pro Tern Don Bank- ;
                                                            public meeting to debate the until asaid      the council felt that '
                                                                                                      permanent solution can
                                                            fjsue-
                                                               City Manager William Win- be found,       responsibility for the
                                                            ter said the council decided to,/ clean
                                                                                              EPA.
                                                                                                    up should be left with the
                                                            stick with the policy after a-' The FHCA wants the city to .
                                                            dosed session with its attorney drop its longstanding support
                                                            Sept, 17 to review McColI liti- for a cleanup remedy closely'
                                                            gation.
                                                               The McColi residents group, studied     by the U.S. Environ-
                                                                                              mental Protection Agency and
                                                            tie FuIIerWn Hills Community to back an alternative proposed'
                                                            Association, had earlier sent by the oil companies facing po-
                                                            the council a resolution re- lentjal liability for McColl.
                                                            questing that it schedule a pub-
                                                            lic session to address the city's    Please see MCCOLL, Page 2A


                                                                             MCCOLL                                          SFUND RECORDS CTR
                                                                                                                               88108624
                                                                             Continued from Page 1A
                                                                                In June, the oil companits un-
                                                                             v&iled a self-funded 590 million
                                                                             plan to excavate and trsat A por-
                                                                             tion of the toxic soil, then enclose
  Post-It™ brand fax transmittal memo 7671 1 # a pages >.                     and stabilize the remaining wastes.
                                                                                 The proposal was made after the
                                                                              EPA announced a two-and-a-half
  ca                              001                                         ytar delay m the clean up sched-
                                                                               ule.
                                                                                  Bushey said thft FHCA wanted
                                                                               the council to schedule a meeting
                                                                               on McColl to allow people the qp- »
                                                                                porwnity to air their views on the
                                                                                clean up remedies, "and from       that .
                                                                                make no decision or make1 a deri-
                                                                                sion — at least do something,"
                                                                                     Prior to annouc'mg the delay,
                                                                                 the EPA was on track towards SB- i
                                                                                 lectinj cm-sits incineration as the j
                                                                                  clean up remedy, The BFA, which '
                                                                                  ts teiwdyvng all clean up alterna-
                                                                                  tives, U expected to again an-
                                                                                   nounce its preferred remedy in
                                                                                   August 1992,
                                                                                       Bushey said the FHCA is wor-
                                                                                    ried that if on-site incineration is
                                                                                    again selected, wastes from other
                                                                                     toxic sites will be, brought to
                                                                                     McColl for treatment,
                                                                                        McColl was created during the
                                                                                      1940s in a then-rural srea of north-
                                                                                      wsst Fulltrton- The site was used
                                                                                      as the dumping ground for petto-
                                                                                   . Uum sludge produced during the
                                                                                       rafming of aviation futl for the
                                                                                       war effort.


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                              Oil firms'McColl
                                                                      meeting of the City Council, in'
                                                                      which the McCoJl legal issues
                                                                      were reviewed in a closed scs-
                                  Fullerton's chief planner has
                             , criiicized the McCojj! oil com-           Afterwards, the- council de-
                               panies' recent efforts .10 gain        clined to schedule \) public
                               the city's endorsement of their        hearing on the tote "site re-
                               proposal for the toxic waste site      quested by McColl area resi-
                               as an attempt lo get quick fed-        dents who have     'been pressing
                               eral approval of the plan.             the city to jojn them in sup-
                                  The planner, Barry Eaton,           porting the oil companies' pro-
                               claimed m'e oil companies' "ag-        posal.
                               gressive prbmo^on campaign"
                               is iin attempt1 to force the city         The oil companies, which
                               to " 're-visit its Idng-held .posi-     face potential' liability for
                              tion that the McColl site should         McColl, have/proposed u self-
                              be permanently cleaned up in           "funded S75 million to S9(l mil-
                              some manner such that the site          lion plan to excavate aml'inni!
                              is no longer a hazardous waste           a portion of the toxic soil, then
                              site," .                                enclose and stabilize the re-
                                  Eaton outlined his viewj In a       maining wastes. !"
                              six-page memorandum pre-
                              pared prior to the Sept. 17               Please see McCOLL, Puge 2A
                                                                       about the oil companies' "selective
                           McCOLL                                      excavation" plan, including wheth-
                                                                       er it could be done safely and if
                           Continued from Page 1A                      the oil companies would stand be-
                                In his memorandum, Eaton                hind the remedy "in 'perpetuity"
                             wrote, "it appears that (the oil          with technical and financial sup-
                             companies') utlimste goal is to add       port.
                             even more momentum to their                  Duchie responded that the con-
                          ' campaign ro convmct the EPA to             cerns Eaton raised about selective
                             quickly adopr their plan by adding        excavation have already been an-
                             the dry's endorsement to their po-        swered by the oi! companies or are
                             sition.                                   now being researched.
                                "In order to reach this goal,             He added that the oil companies
                             they appear ro be pushing harrf to        — Union Oil of California, Tex-
                             have the City Council hold an ex-         aco Refining and Marketing, Shell
                            tensive public hearing at which            Oil, Atlantic RfchfTeld and Phillips
                            they would attempt to make a               Petroleum — intend to give com-
                            strong presentation of the benefits        plete financial and technical sup-
                            of their- plan and of .the' 'ever-         port to the plan if it ,is accepted.
                            widening support' for it."                    "We believe the (selective exea-.
                                Eaton concurred with the recom-        vation) system works and that it's
                            mendation of Dave Jones, a top             a proven remedy," he said.
                            U.S. Environmental Protection                 The oil companies announced
                            Agency Superfund official, that            their selective excavation remedy in
                            "it would be clearly premature for         June shortly after the EPA an-
                            the city 10 change its position to         nounced a two-and-a-half ye$r de-
                            favor any particular remedy for            lay in the cleanup schedule.;
                           the McColl site at this time."
                               Oil companies' spokesman Bill              Since 1989, the EPA had'been
                            Duchit said Eaton "apparently             'on a track towards selecting on-sile
                           sees (the request for a public hear-        incineration nf the wastes as the
                           ing) as a public relations plan and         clean up remedy over other op-
                           it is not.                                  tions.                               |
                               "We and the community have                 The delay, which will require .the
                           been struggling to find a solution          EPA to re-analyse a|f alternative
                           (to McColl) for more than 10 years          remedies for McColl, was prompt-
                           . . , The dry of Fullerton, unfortu-        ed in part by unexpected problem^
                           nately I think, has just pulled             encountered during a trial excava-
                           themselves out of the process/.'            tion of the wastes in the summer
                               Eaton raised several concerns           of 1990,




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